                       Case 4:17-cr-00069-BMM Document 119 Filed 06/21/18 Page 1 of 6
                                                                                                                      FILED
AO 2458 {Rev. 01118)   Judgment in II Crimina) Case
                       Sheetl                                                                                              !lIN 2 1 2018
                                                                                                                     Cieri<, u.s District Court
                                          UNITED STATES DISTRICT COURT                                                  District Of Montana
                                                                                                                               Great Falls
                                                                  District of Montana
                                                                            )
                UNITED STATES OF AMERICA                                    )    JUDGMENT IN A CRIMl""AL CASE
                                   v.                                       )
                                                                            )
                       ALLEN SHANE GOSS                                          Case Number; CR 17-69-GF-BMM-02
                                                                            )
                                                                            )    USM Kumber: 17002-046
                                                                            )
                                                                            )     Steven T. Potts
                                                                                                    ----------_.......
                                                                                  Defendant's Attorney
                                                                                                                         _ .....   ~--~




                                                                           )
THE DEFENDANT:
Ii?I pleaded gUilty to eounl(s)         2 of the Superseding Indictment
                                                                          --
o pleaded nolo contendere to counl(s)
   which was accepted by the court.
o was found guilty on eount(s)
   after a plea afnot guilty.

The defendant is adjudicated guilty ofthesc offenses:

Title & Section                    Nature of Offense                                                          Offense Ended
 18 U,S,C. § 1343                   Wire Fraud                                                                 July 2014                     2




       The defendant is sentenced as provided in pages 2 througb         __7 _ _ of this judgment. Tbe sentence is imposed pursuant to
the Sentencing Refonn Act of 1984,
o The defendant h05 been round not guilty on count(s)
Ii?I Count{s)    1                                      Iil' is    o arc dismissed on the motion of the United States.
         it is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence.
or mailing address until all fines, restitution, costs, and speeial assessments imposed by this judgment are fufly paid. Ifordered to pay restitution,
the defendant must notifY the court and United States attorney of material diangcs in economiC cireumstahces.




                                                                         Brian MorriS, United States Distric~Ju"d='g"'e'___________
                                                                         Name and Title of Judge


                                                                         612112",,01___8 _ _ _           ...______ ~_.. _ __
                                                                        Dale
                     Case 4:17-cr-00069-BMM Document 119 Filed 06/21/18 Page 2 of 6
 AO 245B (Rev. 02118) Judgment in a Criminal Case
                      Sbeet 4--···Ptobation
                                                                                                     Judgment   Page -L_ of     _ _ .1__
DEFENDANT: ALLEN SHANE GOSS
CASENL'MBER: CR 17-69-GF-BMM-02
                                                            PROBATION
You arc hereby sentenced to probation for a term of:
     2 years




                                                    MANDATORY CONDITIONS
1.  You must not coruruit another federal, state or local crime.
2.  You must not unlawfully possess a controlled substancc.
3.  You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of placement on
    probation and at least two periodic drug tests thereafter, as determinc-d by the court.
           III The above drug tcsting condition is suspended, based on the court's detennination that you pose a low risk of future
               substance abuse. (check ij'app/icabJe)
4,   III You must cooperate in the collection of DNA as directed by the probation officer. (check ~f applicable)
5.   0 You must comply with the requirements orthe Sex Offender Registration and Notification Act (34 U.S.c. § 209{)] , et seq.)
         as directed by the probation officcr, the Bureau of Prisons; or any state sex offender registration agency in the location
         where you reside, work, are a student, or were convicted of a qualifying offense. (check ff applicable)
6.   0 You must participate in an approved program for domestic violence. (check if appUcable)
7.   ~ You must make restitution in accordance with 18 U.S.c. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (checkifappllcabJej
S. You must pay the assessment imposed in accordance with 18 U.S.c. § 3013.
9. Ifthisjudgmcnt imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this judgment
10. You must notify the court of any material change in your economic circumstances that might affect your ability to pay restitution,
    fmcs. or special assessments,


You must comply with the standard conditions that have been adopted by this court as well as with any .other conditions on thc attached
page.
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